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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                       Plaintiffs,

        v.                                        Civil Action No.: 1:25-cv-10495-IT
 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, et al.,

                       Defendants.


              PLAINTIFFS’ MOTION FOR PUBLIC TELEPHONE ACCESS

       Plaintiffs respectfully move this Court to provide public access by telephone to the non-

trial proceedings in this case. The Plaintiffs include persons who live too far from Boston to make

regular in-person attendance at hearings practicable. Plaintiffs’ counsel have also received

inquiries from members of the media based outside of Massachusetts, as well as members of

affected communities who are following the case, seeking information about access by public

phone line. It is within the Court’s discretion to grant remote access to hearings not involving

witness testimony, and the principle of public access to proceedings before this Court would

support providing the public and members of the media a remote option in this case.

       Pursuant to Local Rule 7.1(a)(2), Plaintiffs’ counsel certify that they have conferred with

counsel for Defendants, who take no position on this motion.

       For the foregoing reasons, Plaintiffs respectfully request that the Court provide a public

telephone line for remote access to upcoming and future hearings in this case.
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Dated: April 2, 2025                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

I, John A. Freedman, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: April 2, 2025
                                              /s/ John A. Freedman
                                              John A. Freedman




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